      Case 2:22-cv-04614-JCZ-JVM Document 34 Filed 09/25/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 KUANTAY REEDER                                                 CIVIL ACTION

 VERSUS                                                         NO: 22-4614

 JASON WILLIAMS, ET AL                                          SECTION: A(1)




                 NOTICE REGARDING ORAL ARGUMENT REQUEST
                             SECTION A ONLY


       A request for oral argument has been filed in conjunction with a Motion for Partial

Summary Judgment (Rec. Doc. #31), scheduled for submission before the district judge in this

matter. Notwithstanding Local Rule 78.1, this Court will issue an order setting oral argument for

a specific date and time if the Court grants the request. Counsel should not appear for oral

argument until ordered to do so. Deadlines for response memoranda are not extended--those

deadlines are based on the noticed submission date and are governed by the Local Rules.

       THIS NOTICE DOES NOT APPLY TO PROCEEDINGS BEFORE THE ASSIGNED

MAGISTRATE JUDGE.

       September 25, 2023

                                     JENNIFER SCHOUEST LIMJUCO, FOR THE COURT
                                     CASE MANAGER, SECTION A
                                     jennifer_schouest@laed.uscourts.gov
